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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE WESTERN DISTRICT OF TEXAS (EL PASO)

  In re:                                     §         Chapter 11
                                             §
  Flix Brewhouse NM LLC,                     §         Case No. 21-30676 (HCM)
                                             §
           Debtor.                           §
                                             §
      FINAL ORDER (A) AUTHORIZING DEBTOR TO (I) OBTAIN DEBTOR IN POSSESSION
        FINANCING, & (II) USE CASH COLLATERAL, & (B) DETERMINING ADEQUATE
                    PROTECTION & SUPERPRIORITY CLAIMS & LIENS

        This matter came before the Court on the Debtor’s motion (the “Motion”) for the entry

 of interim and final orders (a) authorizing the Debtor to obtain debtor in possession financing and

 use cash collateral, and (b) determining adequate protection and superpriority claims and liens;

 and the Court having jurisdiction over this matter pursuant to 28 U.S.C. §§ 1334 and 157; and this

 proceeding being a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(D) and (M); and finding

 that the Court may enter a final order consistent with Article III of the United States Constitution;

 and venue of this proceeding and the Motion in the Court being proper pursuant to 28 U.S.C. §§

 1408 and 1409; and due and proper notice of the Motion being given; and the Court having found


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 that no other or further notice is needed or necessary; and the Court having reviewed and

 considered the Motion, the proposed Debtor-in-Possession Loan Agreement (“DIP

 Agreement”), and the Reagan Declaration;1 and the Court and having heard statements in

 support of the Motion at the hearings held September 21, 2021 and October 14, 2021 (the

 “Hearings”) and the Court having determined that the legal and factual bases set forth in the

 Motion and at the Hearings establish just cause for the relief granted herein; and the relief

 requested in the Motion being in the best interests of the Debtor’s estate, its creditors, and other

 parties-in-interest; and any objections to the relief requested in the Motion having been

 withdrawn or overruled on the merits; and after due deliberation and sufficient cause appearing

 therefor, it is hereby ORDERED that:

         1.       The Motion is granted on a final basis as set forth in this final Order (the “Final

 Order”).

         2.       The Debtor is authorized to execute the DIP Agreement and any related documents

 and use the funds as set forth in the Motion.

         3.       The Debtor is further authorized to use cash collateral on the terms set forth in the

 Motion. Debtor is required to make the adequate protection payments to Comerica Bank as set

 forth in the Motion.

         4.       The Debtor is authorized to borrow up to $1,500,000 under the terms of the DIP

 Agreement and this Final Order.

         5.       The Lender is granted a priming lien on all Collateral (as defined in the Motion),

 provided that such priming lien shall be subject and inferior to:

                  (a)      the Prior Permitted Lien of Comerica Bank as defined in the Motion;

                  (b)      any perfected contractual lien of Village @ La Orilla, LLC (the “Landlord”);

                           and



 1   Capitalized terms not defined in this Final Order bear the meanings given to them in the Motion.



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                (c)     any lien of a governmental unit for taxes.

        6.      The Lender is granted a superpriority claim for unpaid advances under the DIP

 Agreement, provided that such superpriority claim shall be subject and inferior to:

                (a)     approved fees and expenses of the Subchapter V trustee; and

                (b)     post-petition rent due and payable to the Landlord.

        7.      Section 10 of the DIP Agreement, which provides for payment to the Lender of a

 Commitment Fee of $15,000, is null and void.

        8.      Notwithstanding anything in the DIP Agreement to the contrary, the Lender must

 obtain a court order granting relief from the automatic stay prior to foreclosing on the Collateral.

        9.      Notwithstanding anything in the DIP Agreement to the contrary, the Lender shall

 only be entitled to reimbursement of legal fees and expenses from the Debtor upon application to

 this Court and approval of such fees and expenses.

        10.     A 13-week cash flow projection showing the proposed sources and uses of the DIP

 loan is attached to this Final Order as Exhibit A.

        13.     Nothing in this Final Order (a) is intended or shall be deemed to constitute an

 assumption of any agreement pursuant to § 365 of the Bankruptcy Code or an admission as to the

 validity of any claim against the Debtor; (b) shall impair, prejudice, waive or otherwise affect the

 rights of the Debtor or its estate with respect to the validity, priority, or amount of any claim

 against the Debtor and its estate; or (c) shall be construed as a promise to pay a claim.

        14.     The Debtor is authorized and empowered to take all actions necessary to

 implement the relief granted in this Final Order.



                                               # # #




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                                Exhibit A
                                                                                      Flix Brewhouse NM LLC                                                                                                                                                                                                                                      10.7.21
                                                                                      Projected Sources and Uses of DIP Loan
                                                                                      Week                                                   1           2             3              4            5             6            7               8           9            10           11              12           13              14
                                                                                      Week Ending:                                         9/30/21     10/7/21     10/14/21        10/21/21     10/28/21      11/4/21     11/11/21        11/18/21     11/25/21      12/2/21      12/9/21        12/16/21     12/23/21        12/30/21          TOTAL
                                                                                      Beginning Balance                                $     3,685    $ 74,677     $ 75,157        $ 118,858    $ 75,148     $ 75,393     $ 74,813        $ 152,157    $ 74,968     $ 75,106     $ 75,228        $ 113,789    $ 85,128        $ 148,557     $      3,685
                                                                                       Sales                                                 9,000      91,100      106,300          74,700      105,600       51,300      119,000          74,700      103,900      106,300      106,300         121,500      150,600         162,500          1,382,800
                                                                                       Gratuities collected                                  1,134      11,479       13,394           9,412       13,306        6,464       14,994           9,412       13,091       13,394       13,394          15,309       18,976          20,475            174,233
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                                                                                       Sales Taxes collected                                   579       5,865        6,843           4,809        6,798        3,302        7,661           4,809        6,689        6,843        6,843           7,822        9,695          10,461             89,018
                                                                                      Total Receipts                                         10,713     108,443      126,537          88,921      125,704       61,066      141,655          88,921      123,680      126,537      126,537         144,631      179,270         193,436 #       1,796,651
                                                                                      Operating Disbursements
                                                                                       Payroll and benefits, incl. gratuities                    -      49,861                 -     85,978            -       78,334                 -     90,674            -       96,274                 -    102,381                 -    127,214           630,717
                                                                                       Studio payments                                           -           -       20,279          23,662       16,628       23,507       11,419          26,489       16,628       23,128       23,662          23,662       27,046          33,524            269,636
                                                                                       Food & Beverage                                           -      25,000       19,520          22,777       16,006       22,627       10,992          25,498       16,006       22,262       22,777          22,777       26,034          32,269            284,542
                                                                                       Rent                                                 75,808           -            -               -       75,808            -            -               -       79,940            -            -               -            -          79,940            311,496
                                                                                       Utilities                                                 -           -       17,500               -            -            -       17,500               -            -            -       17,500               -            -               -             52,500
                                                                                       Corporate Management & Marketing Fees                     -      22,500            -               -            -       22,500            -               -            -       22,500            -               -            -               -             67,500
                                                                                       Corporate Expense Reimbursements                     24,000           -            -          15,000            -            -            -               -       15,000            -            -               -       15,000               -             69,000
                                                                                       Repairs & Maintenance                                19,000      10,000        2,500           2,500        9,000        1,000        1,000           1,000        9,000        1,000        1,000           1,000        1,000           9,000             68,000
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                                                                                       Sales taxes                                               -           -            -             579            -            -            -          24,314            -            -            -               -       22,460                             47,353
                                                                                       Equipment Leases & IT                                 4,800           -            -               -            -        4,800            -               -            -        4,800            -               -            -               -             14,400
                                                                                       Insurance                                             1,900           -            -               -            -        4,200            -               -            -        4,200            -               -            -               -             10,300
                                                                                       Local Advertising / Marketing                             -       2,500        2,500           2,500        2,500        2,500        2,500           2,500        2,500        2,500        2,500           2,500        2,500           2,500             32,500
                                                                                       Credit Card Processing Fees                               -       2,603        3,037           2,134        3,017        1,466        3,400           2,134        2,968        3,037        3,037           3,471        4,302           4,642             39,248
                                                                                       Other Operating Expenses                                  -      10,000       10,000          10,000       10,000       10,000       10,000          10,000       10,000       10,000       10,000          10,000       10,000          10,000            130,000
                                                                                      Total Operating Disbursements                        125,508     122,464       75,336         165,131      132,959      170,933       56,811         182,610      152,042      189,702       80,476         165,791      108,342         299,088          2,027,192
                                                                                      Operating Cash Flow                               (114,795)       (14,021)     51,201          (76,210)      (7,255)    (109,867)     84,844          (93,689)     (28,362)     (63,165)     46,061          (21,161)     70,929         (105,652)        (381,142)
                                                                                      Bankruptcy & Non-operating Disbursements
                                                                                       Professional Fees (escrowed)                          7,500       7,500         7,500          7,500        7,500        7,500         7,500           7,500       7,500        7,500         7,500          7,500         7,500           7,500          105,000
                                                                                       Utility Deposit                                      17,500           -             -              -            -            -             -               -           -            -             -              -             -               -           17,500
                                                                                       Debt Service                                         52,213           -             -              -            -       52,213             -               -           -       52,213             -              -             -               -          156,639
                                                                                      Total Non-operating Disbursements                     77,213       7,500         7,500          7,500        7,500       59,713         7,500           7,500       7,500       59,713         7,500          7,500         7,500           7,500          279,139
                                                                                      Net Cash Flow before DIP Draws                    (192,008)       (21,521)     43,701          (83,710)     (14,755)    (169,580)     77,344         (101,189)     (35,862)    (122,878)     38,561          (28,661)     63,429         (113,152)        (660,281)
                                                                                       DIP Draw                                        263,000          22,000             -         40,000       15,000      169,000             -         24,000       36,000      123,000             -              -             -         40,000           732,000
                                                                                      Ending Cash                                     $ 74,677        $ 75,157     $ 118,858       $ 75,148     $ 75,393     $ 74,813     $ 152,157       $ 74,968     $ 75,106     $ 75,228     $ 113,789       $ 85,128     $ 148,557       $ 75,404      $     75,404
                                                                                      NOTES:
                                                                                      Debt service: FB NM's share per existing debt allocation agreement of "Holdco Note" is 24.9363%. Monthly Holdco payments are $108,728, of which debtor's share is $27,113. Debtor's SBA loan payment is $25,100 per month
                                                                                      Rent: No amount for any September "stub period rent" is shown TBD. Also, the rent consists of the Base Rent per the lease plus 1/12th of the 2020 actual NNN expenses as 2021 estimated installments.
                                                                                      Utility deposits: Amount is estimated for electricity, water, and gas based on comparable locations.
                                                                                      Professional Fees: Weekly escrowed amounts of $7,500 to be held in trust for Debtor’s professionals. Payments to Debtor’s professionals will only be made under court order. As with all line items, amounts are estimates only, and in the
                                                                                      case of Debtor’s professionals, they assume a consensual plan and no significant litigation.
                                                                                      DIP Draw in Week                                     263,000      22,000             -         40,000       15,000      169,000             -         24,000       36,000      123,000             -               -            -         40,000
                                                                                      DIP Loan Ending Balance                              263,000     285,000      285,000         325,000      340,000      509,000      509,000         533,000      569,000      692,000      692,000         692,000      692,000         732,000
